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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

_______________________________
Edward F. Groden et al.        )
                               )
             Plaintiffs        )
                               )
v.                             )              Civil Action No: 1:20-cv-10648-WGY
                               )
Fairside Trucking, Inc. et al. )
                               )
             Defendants        )

                          Defendant’s Rule 26 Automatic Disclosures

       Now Come the Defendants, Fairside Trucking, Inc., Carney Bros. Trucking Inc., Carney

Bros. Rental, Inc., and George L. Carney, Jr. (“Defendants”), and pursuant to Rule 26 of the

Federal Rules of Civil Procedure, make the following Automatic Disclosures:

1.     Names and Known Address and Telephone Number of Each Individual Likely to Have
       Discoverable Information, along with the Subject of Such Information.

       In addition to witnesses identified by the Plaintiffs:

       1) George L. Carney, Jr.
          President
          Fairside Trucking, Inc.
          1958 Broadway
          Raynham, MA 02767
          (508) 561-5200

          Subject of Information: Communications with Brian McElhinney regarding the New
          England Teamsters and Trucking Industry Pension Fund. General knowledge of
          company, bargaining, and fund contributions.

       2) Joseph A. Cappucci
          Accountant
          Fairside Trucking, Inc.
          1958 Broadway
          Raynham, MA 02767
          (508) 380-0013
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   Subject of Information: Communications with the Fund and Fund’s counsel
   concerning alleged delinquent contributions, partial withdrawal, and audit;
   remittances.

3) Brian T. Stafford
   Fund Manager
   New England Teamsters and Trucking Industry Pension Fund
   1 Wall Street, 4th Floor
   Burlington, MA 01803
   (781) 345-4400

   Subject of Information: Communications regarding alleged partial withdrawal
   liability of Fairside Trucking.

4) Eileen Savoia
   Audits and Collection Support
   New England Teamsters and Trucking Industry Pension Fund
   1 Wall Street, 4th Floor
   Burlington, MA 01803
   (781) 345-4444

   Subject of Information: Fund contributions and alleged partial withdrawal.

5) Christina Bernius
   Membership Account Manager
   Teamsters Union Local No. 653
   4-B Hampden Drive
   South Easton, MA 02375
   (508) 230-7140

   Subject of Information: Information regarding alleged partial withdrawal liability and
   contributions.

6) Catherine M. Campbell
   Feinberg, Campbell and Zack, P.C.
   177 Milk Street, Suite 300
   Boston, MA 02109
   (617) 338-1976
   Subject of Information: Communications with Joseph Cappucci and Fairside
   Trucking concerning alleged delinquent contributions, partial withdrawal, audit and
   remittances.

7) Brian McElhinney, President
   Teamsters Union Local No. 653
   4-A Hampden Drive
   South Easton, MA 02375
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           (508) 230-7140

           Subject of Information: Communications with George Carney and Fairside Trucking
           regarding the New England Teamsters and Trucking Industry Pension Fund and
           collective bargaining matters.

       8) Coleen Barrett-Holland
          Payroll Auditor
          New England Teamsters and Trucking Industry Pension Fund
          1 Wall Street, 4th Floor
          Burlington, MA 01803
          (781) 345-4400

           Subject of Information: Information regarding alleged partial withdrawal liability and
           contributions.

2.     A Copy or a Description by Category and Location—of All Documents, Electronically
       Stored Information, and Tangible Things that the Disclosing Party has in its Possession,
       Custody, or Control and May use to Support its Defense.

       In addition to documents identified by the Plaintiffs:

       1) Collective Bargaining Agreement (Addendum B) between Teamsters Local 653 and
          Fairside Trucking, Inc.

       2) Email communication between Joseph Cappucci and Catherine M. Campbell,
          Attorney for Teamsters Fund, regarding delinquent contributions

           a. Email dated June 28, 2018 from Catherine Campbell to Joe Cappucci regarding
              “new employer” in the Fund for withdrawal liability purposes.

           b. Email dated August 9, 2018 from Joe Cappucci to Catherine Campbell regarding
              Withdrawal Liability Default Notice dated August 2, 2018.

       3) New England Teamsters and Trucking Industry Pension Fund Employer Remittance
          Reports for Fairside Trucking to present

       4) Settlement Agreement regarding delinquent contributions.

       5) Process for Current Contributing Employer Transitioning to New Employer Status

On information and belief, all such documents are in the possession or control of the Plaintiff.

3.      Computation of Categories of Damages, with Supporting Documents

        Attorney’s fees and costs to be awarded to Defendants as prevailing parties.
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4.        Insurance Agreement or Policy

          None.

                                                      ***************

Defendants reserve the right to supplement the Automatic Disclosures if they becomeaware
of supplemental information.
                                                Respectfully submitted,
                                                By the Defendants,


                                                                         BY:_/s/ Debra Dyleski-Najjar__
                                                                         Debra Dyleski-Najjar, BBO 366730
                                                                         Alexander E. Najjar, BBO 686849
                                                                         Najjar Employment Law Group, PC
                                                                         869 Turnpike Street, Suite 209
                                                                         North Andover, MA 01845
                                                                         Tel. 978 655-3949
DATED:              October 29, 2021                                     Email: dnajjar@nelgpc.com


                                              CERTIFICATE OF SERVICE

I hereby certify that this document filed through the CM/ECF system on October 29, 2021 was
served electronically on all registered participants as identified on the Notice of Electronic Filing
(NEF), including to Counsel for the Plaintiffs.

                                                                         /s/___ Debra Dyleski-Najjar __
DATED: October 29, 2021                                                  Debra Dyleski-Najjar

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